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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


 ALVIN L. BRAGG, JR., in his official capacity as
 District Attorney for New York County,

                                Plaintiff,

         v.
                                                                 Case No. 1:23-cv-03032-MKV
 JIM JORDAN, in his official capacity as Chairman of
 the Committee on the Judiciary; COMMITTEE ON
 THE JUDICIARY OF THE UNITED STATES
 HOUSE OF REPRESENTATIVES; and
 MARK F. POMERANTZ,

                                Defendants.



                         DECLARATION OF TODD B. TATELMAN

I, Todd B. Tatelman, pursuant to the provisions of 28 U.S.C. § 1746 declare and say:

       1.       I am the Deputy General Counsel in the Office of General Counsel of the U.S.

House of Representatives. I have served in this capacity since 2018, and have served in the Office

of General Counsel since 2011. I represent the Honorable Jim Jordan and the Committee on the

Judiciary of the U.S. House of Representatives in this matter.

       2.       Attached as Exhibit A is a true and correct copy of Hot 97, Candidate For NY DA,

Alvin Bragg On Charging Donald Trump, Cy Vance + Dealing w/ Race Relations, YouTube (Jan. 15, 2021),

https://perma.cc/W3BG-G2XV.

       3.       Attached as Exhibit B is a true and correct copy of Jonah E. Bromwich et al., 2

Leading Manhattan D.A. Candidates Face the Trump Question, N.Y. Times (updated June 22, 2021),
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https://perma.cc/G89N-A8UD.

        4.       Attached as Exhibit C is a true and correct copy of Read the Full Text of Mark

Pomerantz’s Resignation Letter, N.Y. Times (Mar. 23, 2022), https://perma.cc/X53Y-GZ87.

        5.       Attached as Exhibit D is a true and correct copy of Mark Berman et al., The prosecutor,

the ex-president and the ‘zombie’ case that came back to life, Wash. Post (Mar. 17, 2023),

https://perma.cc/ZA8N-LEC6.

        6.       Attached as Exhibit E is a true and correct copy of 60 Minutes, Mark Pomerantz and

the “People vs. Donald Trump,” YouTube (Feb. 6, 2023), https://perma.cc/EK78-S7R3.

        7.       Attached as Exhibit F is a true and correct copy of Good Morning America, Mark

Pomerantz discusses new book, ‘People vs. Donald Trump,’ YouTube (Feb. 8, 2023),

https://perma.cc/J6VM-ZXEM.

        8.       Attached as Exhibit G is a true and correct copy of MSNBC, Trump case facts too well

known for book to threaten prosecution: Pomerantz, YouTube (Feb. 6, 2023), https://perma.cc/QVF3-

YSC5.

        9.       Attached as Exhibit H is a true and correct copy of CNN, Ex-prosecutor who investigated

Trump says he committed crimes, YouTube (Feb. 8, 2023), https://perma.cc/8EGC-2TND.

        10.      Attached as Exhibit I is a true and correct copy of MSNBC, Attorney Mark Pomerantz

confident Trump book not interfering with investigation, YouTube (Feb. 7, 2023), https://perma.cc/ZN5E-

PSML.

        11.      Attached as Exhibit J is a true and correct copy of MSNBC, Mark Pomerantz: I had a

‘moral obligation’ to speak out about NY DA case on Trump, YouTube (Feb. 7, 2023),

https://perma.cc/5HXL-PAZZ.

        12.      Attached as Exhibit K is a true and correct copy of Simon & Schuster Audio, Mark

Pomerantz talks about PEOPLE VS. TRUMP, YouTube (Feb. 7, 2023), https://perma.cc/S5Z6-


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ZPPA.

        13.      Attached as Exhibit L is a true and correct copy of Fresh Air, Former prosecutor says

Manhattan DA could have charged Trump with multiple crimes, YouTube (Feb. 7, 2023),

https://perma.cc/F9JZ-CRDP.

        14.      Attached as Exhibit M is a true and correct copy of MSNBC, What’s the point? See Ari

Melber’s interview of NY prosecutor Mark Pomerantz recounting Trump case, YouTube (Feb. 8, 2023),

https://perma.cc/EKX5-E7AJ.

        15.      Attached as Exhibit N is a true and correct copy of Politics and Prose, Mark

Pomerantz – People vs. Donald Trump: An Inside Account – with Robert Costa, YouTube (Feb. 9, 2023),

https://perma.cc/CH58-84CJ.

        16.      Attached as Exhibit O is a true and correct copy of NBC News, Full Pomerantz

interview: Trump investigation book ‘criticism is unfounded,’ YouTube (Feb. 12, 2023),

https://perma.cc/MK6U-7PHL.

        17.      Attached as Exhibit P is a true and correct copy of Jonah E. Bromwich et al.,

Manhattan Prosecutors Move to Jump-Start Criminal Inquiry Into Trump, N.Y. Times (Nov. 21, 2022),

https://perma.cc/Y7LL-667A.

        18.      Attached as Exhibit Q is a true and correct copy of Graham Kates, Manhattan D.A.

could be close to charging Trump, CBS News (Mar. 9, 2023), https://perma.cc/X5L7-JV6P.

        19.      Attached as Exhibit R is a true and correct copy of Editorial Board, Opinion, Alvin

Bragg’s Political Charge Against Donald Trump, Wall St. J. (Mar. 19, 2023), https://perma.cc/QD2P-

GRB9.

        20.      Attached as Exhibit S is a true and correct copy of Victoria Bekiempis, Many Top

NYC Attorneys Loathe Trump — But Don’t Like Bragg’s Chances, Rolling Stone (Mar. 30, 2023),

https://perma.cc/8RUX-3LGN.


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        21.     Attached as Exhibit T is a true and correct copy of Jon Levine, DA Alvin Bragg’s

staffer hangs up on ‘bulls–t’ congressional phone call, N.Y. Post (Mar. 25, 2023), https://perma.cc/3UCE-

T7Q9.

        22.     Attached as Exhibit U is a true and correct copy of U.S. House of Representatives,

118th Congress Regulations for Use of Deposition Authority and Remote Participation of

Committee Witnesses, 118th Cong., 169 Cong. Rec. H147 (Jan. 10, 2023), https://perma.cc/MT47-

HTWA.

        23.     Attached as Exhibit V is a true and correct copy of the legislation introduced in the

House by Representative Andy Biggs and assigned bill number H.R. 2582, 118th Cong. (2023),

https://perma.cc/NL5N-VFER; https://perma.cc/6X6B-549G.

        24.     Attached as Exhibit W is a true and correct copy of the legislation introduced in the

House by Representative Russell Fry and assigned bill number H.R. 2553, 118th Cong. (2023),

https://perma.cc/8NC7-7KJY; https://perma.cc/8BP6-TSUD.

        25.     Attached as Exhibit X is a true and correct copy of excerpts of Venezuelan Money and

the Presidential Election: Hearing Before the H. Comm. on Gov’t Reform and Oversight, 105th Cong. (1998),

https://perma.cc/46FH-Y52C.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on April

17, 2023 in Washington, D.C.

                                                            /s/ Todd B. Tatelman_____
                                                            Todd B. Tatelman




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